Filed 07/19/18                                   Case 14-23526                                                Doc 102



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            2    Trial Attorney
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            3    Assistant United States Trustee
                 UNITED STATES DEPARTMENT OF JUSTICE
            4    Office of the United States Trustee
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            5    Saramento, CA 95814
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            6    Al.C.Massey@UST.DOJ.GOV
            7                             UNITED STATES BANKRUPTCY COURT
            8                               EASTERN DISTRICT OF CALIFORNIA
            9
           10    IN RE:                                            CASE NO.14-23526-B-7
           11
                 PEGGY ANNETTE DEAN
           12                                                      DCN: UST-1
                                                                   CHAPTER 7 PROCEEDING
           13         Debtor(s).                                   No Hearing Requested
                 ________________________/
           14
                                     MOTION OF THE UNITED STATES TRUSTEE
           15                                   TO REOPEN CASE

           16
                 TO: THE HONORABLE CHRISTOPHER D. JAIME, BANKRUPTCY JUDGE:
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                        COMES NOW THE UNITED STATES TRUSTEE, through undersigned
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                 counsel, respectfully requesting the Court as follows:
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                        1.      The above-referenced case was initially filed on April 4, 2014, and
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                 discharge was granted on October 27,2014. Geoffrey Richards was appointed as the
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                 Trustee in the matter, and relieved by the Court when the case was closed.
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                        2.      Based upon the attached declaration of Geoffrey Richards, there
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                 appears to be good cause to reopen said case to administer additional assets.
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           25           3.      As there appears to be assets which need to be liquidated and

           26    distributed to the creditors, the United States Trustee states that a Chapter 7 Trustee

           27    will need to be appointed in order to protect the interests of the creditors and to insure

           28    the efficient administration of the estate.
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                       WHEREFORE, the United States Trustee prays the Court to ORDER the
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                 above case re-opened pursuant to 11 U.S.C. 350(b) so that these assets may be
            3
                 administered; and, that the Court find that a Trustee is necessary in this case, and
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                 directs that the United States Trustee so appoint a trustee, pursuant to Bankruptcy
            5
                 Rule 5010.
            6
            7    Dated: July 19, 2018                    Respectfully submitted,

            8                                            Allen C. Massey
                                                         Assistant United States Trustee
            9
           10                                            By:    /s / Allen C. Massey

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                                                         Attorney for Tracy Hope Davis,
           12                                            United States Trustee
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